                     UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

MEGAN RUNNION, a minor, through her
mother and next friend, EDIE RUNNION,

       Plaintiff,
                                                   No. 12 C 6066
       v.
                                                   Magistrate Judge Michael T. Mason
GIRL SCOUTS OF GREATER CHICAGO
AND NORTHWEST INDIANA,

       Defendant.


                               STIPULATION OF DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, it is hereby

stipulated and agreed that this matter be dismissed, with prejudice, without costs to either party,

each party bearing their own costs and all matters in controversy for which said action was

brought having been fully settled, compromised, and adjourned.


RESPECTFULLY SUBMITTED,

For Plaintiff Megan Runnion, a minor, through      For Defendant Girl Scouts of Greater Chicago
her mother and next friend, Edie Runnion,          and Northwest Indiana

/s/ Amanda Antholt                                 /s/ Patrick S. Casey

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